O A O 247 (N C /W 03/08) O rder R egarding M otion for Sentence Reduction



                                         U NITED STATES D ISTRICT C OURT
                                                                              for the

                                                           Western District of North Carolina

                      United States of America                                    )
                                 v.                                               )
                                                                                  )   Case No: 1:01CR48-3
                      Christopher Bernard Evans
                                                                                  )   USM No: 16902-058
Date of Previous Judgment: 4/24/02                                                )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                                 )   Defendant’s Attorney

                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 87            months is reduced to                            .

I. C O U R T D E T E R M IN A T IO N O F G U ID E L IN E R A N G E (Prior to Any Departures)
Previous Offense Level:                  27                                           Amended Offense Level:          25
Criminal History Category:               V                                            Criminal History Category:      V
Previous Guideline Range:                120          to 150        months            Amended Guideline Range:        100       to 125   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COM MENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.



Except as provided above, all provisions of the judgment dated                           4/24/02             shall remain in effect.
IT IS SO ORDERED .

O rder D ate:         July 21, 2008




Effective Date:
                        (if different from order date)




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